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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

J.P. MORGAN CHASE BANK, N.A.

Garnishee.

)
UNITED STATES OF AMERICA, )
)
Vv. ) Criminal No. 22-CR-176 (CJN)
)
STEPHEN JOHNSON, )
)
Defendant, )
)
)
)
)
)

WRIT OF CONTINUING PREJUDGMENT NON-WAGE GARNISHMENT.
GREETINGS TO: National Subpoena Processing
J.P. Morgan Chase Bank, N.A.
Mail Code LA4-7300
700 Kansas Lane
Monroe, LA 71203
An application for a Writ of Continuing Prejudgment Non-Wage Garnishment against the
property of Stephen Johnson, the Defendant, has been filed with this Court. The Defendant is
awaiting sentencing in the above-captioned criminal case. Given the Jury’s verdict and the
Court’s guilty judgment, finding the Defendant guilty of five counts of Transportation of Child
Pornography, in violation of 18 USC §§ 2252(a)(1), (b)(1), and one count of Possession of Child
Pornography, in violation of 18 USC §§ 2252(a)(4)(B), (b)(2), see Docket Doc. No. 166, the
Defendant will face a mandatory restitution judgment and mandatory special assessments at
sentencing which the Court will soon schedule. See 18 U.S.C. §§ 2259, 2259A, 3014.
You are required by law to answer in writing, under oath, within ten (10) business days,

whether you have in your custody, control, or possession any property owned by the Defendant,

including non-exempt property.
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You must file the original written answer to this Writ within ten (10) business days of your
receipt with the Clerk of the Court, United States District Court, 333 Constitution Avenue, N.W.,
Room 1225, Washington, D.C. 20001. Additionally, you are required by law to serve a copy of
the answer upon both Counsel for the Defendant, addressed as follows: Jonathan Jeffress, Esq.,
KAISER DILLON, PLLC, 1099 14th Street, Suite 800 West, Washington, D.C. 20005, and Tony
W. Miles, Esq., KAISER DILLON, PLLC, 1099 14th Street, Suite 800 West, Washington, D.C.
20005, and upon the Defendant at his address: 2641 Myrtle Avenue, NE, Washington D.C.
20018; as well as upon Counsel for the United States, Melissa Goforth Koenig and Oliver W.
McDaniel, Assistant U.S. Attorneys, Civil Division, 555 4th Street, N.W., Washington, D.C.
20530.

Under the law, there are certain types or categories of property that are exempt from this
Writ of Continuing Prejudgment Non-Wage Garnishment. Property that is exempt and not
subject to this order is listed on the Claim for Exemption form attached to the Notice of Continuing
Non-Wage Garnishment. A copy of the Notice is attached hereto.

You shall withhold and retain any property in which the Defendant has a substantial non-
exempt interest and for which you are, or may become, indebted to the Defendant, pending further

order of the Court.

ANGELA D. CAESAR, CLERK
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

By:

DEPUTY CLERK
